         Case 1:21-mj-00038-RMM Document 58 Filed 09/05/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                                  Case no. 21-mj-38

 v.

 ALBERT CIARPELLI,
                              Defendant.


                                                  ORDER

       This matter having come before the Court pursuant to a Joint Motion to Continue (Dkt.

No. 57), and upon consideration of the entire record, it is hereby:

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the hearing scheduled for September 7, 2023, is continued to November 8,

2023, at 2:00 PM before United States Magistrate Judge Robin M. Meriweather; and it is further

       ORDERED that the period of time between September 7, 2023, and November 8, 2023,

shall be excluded from computing time under the Speedy Trial Act, including the time within

which an information or indictment must be filed, because the ends of justice served by such a

continuance outweigh the interests of the public and the defendant in a speedy trial. See 18 U.S.C.

§ 3161(h)(1) & (h)(7). The Court finds that the parties are working in good faith towards a potential

resolution, and that delay is necessary for the parties to review discovery and work towards an

agreement for pretrial disposition of the case.

       SO ORDERED.                                  Zia M.                 Digitally signed
                                                                           by Zia M.
                                                    Faruqui                Faruqui
 Washington, D.C.                                    HONORABLE ZIA M. FARUQUI
 September 5, 2023                                   United States Magistrate Judge
